        Case 24-12842-pmm
 Fill in this information to identify the case:
                                                    Doc     Filed 11/08/24 Entered 11/08/24 11:24:43                    Desc Main
                                                            Document      Page 1 of 3
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number            ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                            12/16

                  an provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



 Name of creditor: _______________________________________                                  Court claim no. (if known): __________________

 Last 4 digits of any number you use to
 identify the debtor s account:                             ____ ____ ____ ____

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
        No
        Yes. Date of the last notice: ____/____/_____


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses,                                                                                   . Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

       Description                                                         Dates incurred                                    Amount

  1. Late charges                                                          _________________________________           (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                       _________________________________           (2)   $ __________
  3. Attorney fees                                                         _________________________________           (3)   $ __________
  4. Filing fees and court costs                                           _________________________________           (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                        _________________________________           (5)   $ __________
  6.                                 opinion fees                          _________________________________           (6)   $ __________
  7. Property inspection fees                                              _________________________________           (7)   $ __________
  8. Tax advances (non-escrow)                                             _________________________________           (8)   $ __________
  9. Insurance advances (non-escrow)                                       _________________________________           (9)   $ __________
 10. Property preservation expenses. Specify:_______________               _________________________________          (10)   $ __________
 11. Other. Specify:____________________________________                   _________________________________          (11)   $ __________
 12. Other. Specify:____________________________________                   _________________________________          (12)   $ __________
 13. Other. Specify:____________________________________                   _________________________________          (13)   $ __________
 14. Other. Specify:____________________________________                   _________________________________          (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                                 Notice of Postpetition Mortgage Fees, Expenses, and Charges                       page 1
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Debtor 1     _______________________________________________________                       Case number (if known) _____________________________________
             First Name       Middle Name               Last Name




 Part 2:    Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

      I am the creditor.
      I am the                                      .


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



                 __________________________________________________                        Date    ____/_____/________
                 Signature




 Print:          _________________________________________________________                 Title   ___________________________
                 First Name                      Middle Name        Last Name



 Company         _________________________________________________________



 Address         _________________________________________________________
                 Number                 Street
                 ___________________________________________________
                 City                                               State       ZIP Code




 Contact phone   (______) _____ _________                                                  Email ________________________




Official Form 410S2                                Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
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                                   UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF PENNSYLVANIA


In Re:
Tyreek T Cooper                                                      Chapter 13
                                                                     Case No. 24-12842
                                                                     Honorable Patricia M Mayer
Debtor
____________________________________________/

                                         CERTIFICATE OF SERVICE

       I, Michele Green of Santander Bank, N.A., do hereby certify that on November 6, 2024 I caused to be served
a copy of the Notice of Post-petition Mortgage Fees, Expenses, and Charges on the service list below by having a
copy of the same mailed by the first class mail, postage prepaid or other method specified on service list.

         Signed under the penalties of perjury, this 6th day of November 2024.


                                                              _____________________________________________
                                                              Michele Green
                                                              Santander Bank, N.A.
                                                              Bankruptcy Administrator
                                                              1130 Berkshire Boulevard
                                                              Wyomissing, PA 19610
                                                              (484) 512-3567
                                                              Email: DeftBkr@santander.us
VIA US MAIL
TYREEK T COOPER
1807 W MASTER ST
PHILADELPHIA, PA 19121-4907

 VIA ECF
KENNETH E WEST
1234 MARKET ST STE 1813
PHILADELPHIA, PA 19107-3704

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